          Case 4:20-cv-00046-JM Document 41 Filed 01/12/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

DETRICK CROSTON                                                                     PLAINTIFF

V.                                4:20-cv-00046-JM /JTR

MARSHALL D. REED, et al.                                                        DEFENDANTS


                                         JUDGMENT

       Consistent with the Order entered on this day, this case is dismissed. All relief sought is

denied, and the case is closed.

       Dated this 12th day of January, 2021.



                                                    ____________________________________
                                                     UNITED STATES DISTRICT JUDGE
